AO 440 (Rev. 06/12; DC 3/15) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

District of Columbia [=|

MI FAMILIA VOTA EDUCATION FUND; SARA
SCHWARTZ; MARLA LOPEZ

 

Plaintiff(s)
Vv.

DONALD J. TRUMP, in his individual and official
capacity as President of the United States; WILLIAM
P. BARR, in his official capacity as Attorney General;
and CHAD F, WOLF, in his official capacity as Acting

Secretarv of Homeland Security
Defendant(s)

Civil Action No. —20-cv-03030-RJL

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SUMMONS IN A CIVIL ACTION

: ‘SH dd
To: (Defendant's name and address) Donald J. Trump,

The White House
1600 Pennsylvania Avenue, N.W.
Washington, D.C. 20500

in his individual and official capacity

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: . Matthew D. Brinckerhoff

Michael D. Lieder Ronald Fein Emery Celli Brinckerhoff Abady Ward &
Mehri & Skalet, PLLC Free Speech for People Maazel LLP

1250 Connecticut Ave., NW, Suite 30 320 Center Street, Suite 405 600 Fifth Ave., 10th Floor

Washington, DC 20036 Newton, MA 02459 New York, NY 10020

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D, CAESAR, CLERK OF COURT

10/22/2020 /s/ Michael Darby

Date:
Signature of Clerk or Deputy Clerk

 
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and CHAD F. WOLF, in his official capacity as Acting )

_ Secretary of Homeland Security )

Defendant(s) )

SUMMONS IN A CIVIL ACTION

Hl (D ¢jernelaniistnarnetaricaaairesy) William P. Barr, in his official capacity as Attorney.General
Office of the Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530

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Mehri & Skalet, PLLC Free Speech for People Emery Celli Brinckerhoff Abady Ward &
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Secretary of Homeland Security )

Defendant(s) )

SUMMONS IN A CIVIL ACTION

ThooA(De fenidaatestncmetaraladlaiess) Chad F. Wolf, in his capacit as Acting Secretary of Homeland Security

Nebraska Avenue Complex
3801 Nebraska Ave NW
Washington, DC 20016

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whose name and address are: Matthew D. Brinckerhoff

Michael D. Lieder Ronald Fein Emery Celli Brinckerhoff Abady Ward &
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_ Secretary of. Homeland Security )

Defendant(s) )

SUMMONS IN A CIVIL ACTION

Hise fendantsinanielailonaress) Michael R. Sherwin, in his official capacity as Acting U.S. Attorney
United States Attorney's Office
555 4th Street, NW
Washington, DC 20530

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